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                                MINUTE ORDER



 CASE NUMBER:            CRIMINAL NO. 17-00101-1 LEK
 CASE NAME:              USA vs. Anthony T. Williams


       JUDGE:      Leslie E. Kobayashi           DATE:            2/11/2020

COURT ACTION: EO: COURT ORDER DENYING “DEFENDANT’S ‘MOTION IN
OPPOSITION TO TRIAL JUDGE KOBAYASHI’S RULING THAT THE FBI
AGENT’S IN OTHER STATES TESTIMONY IS IRRELEVANT TO THIS CASE’”

       On January 27, 2020, pro se Defendant Anthony T. Williams (“Defendant”) filed
“Defendant’s ‘Motion to Continue Trial for 70 Days’” (“Motion to Continue”). [Dkt.
no. 812.] A hearing on the Motion to Continue was held on January 29, 2020, and the
motion was denied. [Minutes, filed 1/29/20 (dkt. no. 836), at 1.] On February 7, 2020,
Defendant filed a document titled “Defendant’s ‘Motion in Opposition to Trial Judge
Kobayashi’s Ruling that the FBI Agent’s [sic] in Other States Testimony Is Irrelevant to
this Case.’” [Dkt. no. 879.] This filing is HEREBY CONSTRUED as a motion for
reconsideration of the denial of the Motion to Continue (“Motion for Reconsideration”).

       The Court finds that: the Motion for Reconsideration is suitable for disposition
without a hearing pursuant to Local Rule 7.1(d); and it is not necessary for Plaintiff the
United States of America to file a response. The standard applicable to motions for
reconsideration in this case has been set forth in multiple previous orders and will not be
repeated here. See, e.g., EO: Court Order Denying Def.’s “Motion in Opposition to Order
Denying Private Attorney General Anthony Williams Selective Prosecution Motion,”
filed 11/27/19 (dkt. no. 677), at 1-2 (quoting EO: Court Order Denying Def.’s “Motion
for Reconsideration of Court’s 8/21/18 Electronic Order Re: ‘United States’s Motion to
Extend the Deadline to Respond to Defendant’s Motion to Dismiss,’” filed 10/1/18 (dkt.
no. 329), at 2). Defendant’s Motion for Reconsideration does not identify any newly
available evidence or intervening change in the law. Further, Defendant has not
established any manifest error of law or fact in the denial of the Motion to Continue.
Defendant’s mere disagreement with the denial of the Motion to Continue does not
warrant reconsideration. See Order Denying Def.’s Motion for Reconsideration, filed
2/28/19 (dkt. no. 431), at 8 (quoting Riley v. Nat’l Ass’n of Marine Surveyors, Inc., Civil
No. 14-00135 LEK-RLP, 2014 WL 4794003, at *1 (D. Hawai`i Sept. 25, 2014)).
Defendant’s Motion for Reconsideration is therefore DENIED.

       IT IS SO ORDERED.

Submitted by: Agalelei Elkington, Courtroom Manager
